          Case: 1:17-cv-04613 Document #: 6 Filed: 08/22/17 Page 1 of 26 PageID #:43

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               . BRUTO   N
   THOMA.SDG
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                               NORTIIERII DISTRICT OF ILLINOIS
                                      EASTERN DIYISION
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  @nter above the full name
  of the plaintiffor plaintiffs in
  this action)
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  defendants in this action. Do not
  use "et al.")

  CIIECI?OiYE OiYLY:

 /               coMpLArNT uNDER TrrE cnrrl RT.HTS ACT,               TrrLE   42   sECTroN   1983
                 U.S. Code (state, county, or municipal defendants)

                 CoMPLATNT TINDER TIm C ONSTITUTION ( " BIVENS " ACTIOI9,                 TrrLE
                 28 SECTION 1331U.S. Code (federal defendants)

                 OTIIER (cite    statute,   if known)

 BEFORE FILLING OUT THIS COMPI-AINT, PLE/ISE REFER TO "INSTRUCTIONS FOR
 FILING. II FOLLOW THESE INSTRUCTIONS CAREFTILLY,
 Case: 1:17-cv-04613 Document #: 6 Filed: 08/22/17 Page 2 of 26 PageID #:44




 Plaintiff(s):

 A.      Name:           ,dril*,**r'
 B.      List all   aliases: lt/llf
 C.      Prisoner identification   number:     6f4Xf/
 D.      Place of present confinement:    t%/,1 % dzrn/r*/ /*/f
 E.      Address:

 (If there is more than one plaintiff, then each plaintiffmust list his or her name, aliases, I.D.
 number, place of confinement, and current address according to the above format on a
 separate sheet of paper.)

Defendant(s):
(In A below, place the full name of the first defendant in the first blank, his or her ofEcial
position in the second blank, and his or her place of employment in the thfud blank. Space
for two additional defendants is provided in B and C.)

A.      Derendanr           lil r/zU P/yir
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        Place of Employm r, ,fr/,t h frtu/o,,t*{ frr//
                        "
B.




        Place of Employment:           &/,rZ nrail*l Eu/r
C.      Defendant: il/znt

        Place of Employment:

(Ifyou have more than three defendants, then all additional defendants must be listed
according to the above format on a separat-e sheet of paper,)




                                                                                     Revised 92007
         Case: 1:17-cv-04613 Document #: 6 Filed: 08/22/17 Page 3 of 26 PageID #:45


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          Case: 1:17-cv-04613 Document #: 6 Filed: 08/22/17 Page 4 of 26 PageID #:46




  III.        List ALL lawsuits you (and your co-plaintiffs, if any)     have filed in any state or      federal
              court in the United States:

          A,          'ame
                     Name of case 4nd docket nxrrber:      ft                     .n/ /b,/fr24/
                      fiZZ        lLmp./t.n, ,2,ilV:3,'51,                        ry,      ,/
          B.         Approximate date of filing lawsuit:

          C.         List all plaiqtifs (if you had co-plai iffs), iucluding any aliases:




          D.        List all defendants:
                      Oza,a?hrz,/"'


         E.         Courtinwhichthelawsuit                                    name the district; ifstate court,
                    name the county):

         F,         Name ofjudge to whom case was assigned:


         G.        Basic claim made:




         H.        Disposition of this case (for          e:   Was the case                 Was   it appealed?
                   Is it still pending?):




         I.        Approximate date of disposition:


IF YOU IIAYE FILED MORE TIIAN OIYE LAWSUIT, THEN YOU MUST DESCRIBE
                                                                   THT
ADDITIONAL LAWSTIITS ON ANOTHER PIECE OF PAPER, USING THIS SAME
FORMAT. REGARDLESS OF HOW MAh[y CASES yOU HAVE PREVIOUSLYFTLED,
YOU WILL NOT BE EXCUSED FROM FILLING OUT THIS SECTION COMPLETELY,
AND FAILURE TO DO SO MAY RXSULT IN DISMISSAL OF YOUR CASE. CO.
PLAINTIFFS MUST ALSO LIST ALL CASES THEY HAVE FILED.




                                                                                                  Revised 9/2007
      Case: 1:17-cv-04613 Document #: 6 Filed: 08/22/17 Page 5 of 26 PageID #:47




rv.   Statement of Claim:

      State here as briefly as possible the facts ofyour case. Describe how each defendant is
      involved, including ntrmes, dates, and places. Do not give any legal arguments or cite any
      cases or statutes. If you intend to allege a number of related claims, number and set forth
      each clairn in a separate paragraph. (Use as rnuch space as you need. Attach extra sheets  if
      necessary.)




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           Case: 1:17-cv-04613 Document #: 6 Filed: 08/22/17 Page 6 of 26 PageID #:48




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        Case: 1:17-cv-04613 Document #: 6 Filed: 08/22/17 Page 7 of 26 PageID #:49




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       Case: 1:17-cv-04613 Document #: 6 Filed: 08/22/17 Page 8 of 26 PageID #:50




V.     Relief:

       State briefly exactly what you want the court to do for you. Make no legal arguments. Cite
       no cases or statutes.

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VI,    The plaintiffdemands that the case be tried by   a   jury. ,N   nt        trNo

                                                        CERTIFICATION

                             By signing this Complaint I certify that the facts stated in this
                             Complaint are fue to the best of my knowledge, information and
                             belief. I understand that if this certification is not correct, I may be
                             subject to sanctions by the Court.

                             Signed    this          day    of          .20




                            (Signature    of        or plaintiffs)

                                       ,/otL,a/r//
                            (Print name)



                            (I.D. Number)




                            (Address)
                     Case: 1:17-cv-04613 Document #: 6 Filed: 08/22/17 Page 9 of 26 PageID #:51




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               Case: 1:17-cv-04613 Document #: 6 Filed: 08/22/17 Page 10 of 26 PageID #:52
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                                                        Offender Outpatlent Progress Notes

                                                       STATEVILLE      CORRECTIONAL                Center




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    Dateffime


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                   Case: 1:17-cv-04613 Document #: 6 Filed: 08/22/17 Page 11 of 26 PageID #:53



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                      Case: 1:17-cv-04613 Document #: 6 Filed: 08/22/17 Page 12 of 26 PageID #:54

           a.l
                                                                   ILLINoIS DEPARTMENT oF CoRREcTIoNS
                                                                                                                              ctrs 1
                                                                  Admi nistrative Review Board
                                                             Return of Grievance or Correspondence



Offender:


Facility:
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                                 crievance # (ir
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                                                                                     Dated:- [t J i
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                                                                                                                   Correspondence:        Dated:
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The attached grievance or correspondence is being returned for the following reasons:

Additional information required :
  R ProviOe a copy of your written Offender's Grievance, DOC 0046, including the counselor's response, if applicable.
( M.).r,de a copy of the Response to Offender's Grievance, DOC 0047, including the Grievance Officer's and Chief Administrative
V    Otficer's response, to appeal.

  tr Provide dates of disciplinary reports and facility where incidents occurred.
  tr Unable to determine nature of grievance or correspondence; submit additional specific information. Please return the attached
           grievance or correspondence with the additional information requested                      to:   Administrative Review Board
                                                                                                            Office of lnmate lssues
                                                                                                            1301 Concordia Cou(
                                                                                                                      lL 62794-9277
                                                                                                            Springfield,

Misdirected:
    tr     Contact your correctional counselor regarding this issue.

    tr     Request restoration of Statutory Sentence Credits to Adjustment Committee. lf the request is denied by the facility, utilize the
           offender grievance process outllned in Department Rule 504 for further consideration.

    tr     Contact the Record Office with your request or to provide additional information.

    tr     Personal property issues are to be reviewed at your current facllity prior to review by the Administrative Review Board.

    E      nddress concerns           to:   lllinois Prisoner Review Board
                                            319 E. Madison St., Suite A
                                            Springfield, lL 62706

No further redress:
    !      Award of Supplemental Sentence Credits are discretionary administrative decisions; therefore, this issue will not be addressed
           further.

    tr     Not submitted in the timeframe outlined in Department Rule 504; therefore, this issue will not be addressed further.

    !     This office previously addressed this issue on

    n      No justification provided for additional consideration.


Other    (specify):




Completed        by:         Sarah Johnson
                                            Print Name
                                                                                                      saralv-foh,nww ,O lb 11
                                                                                                        Signature                                  Date


Distribution: Offender                                                    Printed on Recycled Paper                                       DOC 0070 (Rev.4/201 3)
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      Case: 1:17-cv-04613 Document #: 6 Filed: 08/22/17 Page 14 of 26 PageID #:56

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           lllinois                                                                               Governor
           Department of
                                                                                               S. A Godlnez
           Corrections                                                                         Acting Director


StatevitteConecdond Center/   Ft 53/   P.O. Box 112/Jdld, lL60(34/Tdephonei (815) 727-3607 ITOO:(0AOl52&{E/l.



MEMORANDUM
DATE:            January 16, 2015

TO:


FROM:
                                                                                       ffi*w
This report


                        esl
                                                                                        in-ffre-6;8-and-Itr
                                                                            frgg;of scum. No paper towels
                                                                            cett.

c HousE      -                                                           i[ lr[ mulllple cells. Work orders

D HOUSE
                                                                                         screens are not ln
                                                                                         area is not free of


E   HOUSE     - Inspectlon Report By: Kitts, CN II
                 Windows and screens are not ln good repair and vents are dusty. The
                 area is not free of insectslrodents. It is not the proper temperature In
                 the 6, I and 10 galleries. The shower area is not clean and free of
               SCUM.




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             F HOUSE    -    Inspectlon Report By: Barnett, CMT
                            Hot water is not available in the restroom facilities. The area is not
                            free of insects, rodents, birds or other animals. The shower areas are
                            not clean and free of scum.

             G, H,   I HOUSE, MSU KITCHEH, MSU FARM -                                Units Closed.

             X HOUSE    - Inspection Report By: Barnett, CMT
                            Compliant, per report.

             OFFICER'S DINING ROOM - InspecHon Report By: Rue, LpN
                      The area is not free of lnsects or rodents.

             INMATE KITCHEIT- Inspection Reporf.by: Rue, LpN
                      The are4 is not free of insects or rodents.
                         ',.' ,.t 'r t'',,',1".,. ' , i r""ill
                             -
             INFIRMARY fnspection Report B]tr, Rir€i, LpN
                     The area. ts not free.of lnsects or rodents.
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 Case: 1:17-cv-04613 Document #: 6 Filed: 08/22/17 Page 19 of 26 PageID #:61




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             lllinois                                                                                                        Governor
             Department of
                                                                                                                           S.   A Godinez
             Corrections                                                                                                        Director


Stateville Conectional Center/ Bt.    53/ P.O. Box                112    /Joliet, lL 60434/Telephone: (815) 727-gW7 /TDD: (8@) 52S0844




DATE:              July 2L,20L4

TO:                Nicholas R. Lamb
                   A/W of Operations
                                              ;'   ':..'   ..

                                             i :'' l ';'1''
FROM:              Joy Vander Weit, kN,Superviqor:,                                                      ,   r


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                   SAFEW & SAFIITATION

This                                                            olJulrr;

                   rhe,'Rit0res;w6ib rtoi shfelded or ildbnlt The vents'lare not intact or
                   cle5n,.There wds nosoap In the disp.enser ln the restroom. The area
                   was not fiee of insect$,or rodenB. The area'was not free of birds or
                   other anirnals. There was no hbtwateravailable, paper towels, gloves,
                   antiseptic handwash, red bags gr p0ap in the CMT Office.
                                                                 tt't                             ,"''
                            );'      ''".t    '.                                                             '
                                                                        '',',      .' .'.:                          :



C HOUSE        - Inspection Report By: Dybas, RN -,,                                         "'

                   The windows and:screens are not in' good repair. The area is not free
                   of insects:or rodenli, The area was nbt free, of birds or other animals.

D I'IOUSE      -  Inspection Report By: Miller, RN
                 There was no soap in the dispenser in the restroom. There were no
                 paper towels, antiseptic handwash, red bags or soap in the dispenser
                 in the CMT Office.

E HOUSE - Inspection Report By: Mills, RN
                   Compliant, per rePort.

F   HOUSE        - Inspection Report By: Piazza, RN
                 The floor surfaces are not clean. The floors are not in good repair. the
                 windows and ledges are not clean. The area is not free of
                 insects/rodents. The area is not free of birds or other animals. The



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            bars and security doors are not clean. The shower area is not clean or
            free of scum.

G, H,   I HOUSE, MSU KITCHET'|, MSU FARM -               Units Closed.

X HOUSE    - Inspection Report By: Kits, RN
            The fixtures were not shielded or clean. The windows and screens are
            not in good repair. The windows and ledges are not clean. The vents
            are not clean or intact. The area is not free of insects or rodents. The
            area is not free of birds or other animals. The bars and security doors
            are not clean, The shower areas are not clean or free of scum.

OFFICER'S DINING ROOM - Inspection Report By: Dimialig, LPN
         The evacuation plan was not'posted. The toilets and sinks are not in
         good'repalr, The area was. not free of insects or rodents.

INMATE KITCHEN'- Inspeition Report:By: Dimialig, LPN
         Theie is not ade'quatelventilation. The area was not free of insects or
         rodents; Tliriouter openins.are not protected. The area is not free of
         birds or:other, animatsr,,Thb,floOrs are not in good repair. The windows
         and'screens
              't'   :
                       arqno! in good; r:epair;" The,unit is not at the proper
                                                 i   "



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INFIRMARY - Inspectlon Report By: Rossiter. RN
              The exit lights'are not working. The area has exposed wiring. The
               vents are not.'clebn or intact, Th€ area is not free of insects or rodents.
              The bars and security doors are not clean. The shower areas are not
              clean or free of scum. The mattresses are not in good condition.

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     Case: 1:17-cv-04613 Document #: 6 Filed: 08/22/17 Page 21 of 26 PageID #:63




                                                                                                          BrucE Flauner
             lllinois                                                                                       Governor

             Department of                                                                                S. A. Godinez
             Corrections                                                                                  Acting Director


                                                                          / Telephonq (8'15) 727'3fo7 I TDD: (80o) 52e,cE/4
Statsvilte Conectionat Center / Rt. 53 / P.O. Box 1 12 / Joliet, lL 60494



MEMORANDUM
DATE:               February 13,2015

TO:


FROM:                                                                                     It&,,//s**nt
SUBJECT: SAFETY &

Thls report

8 HOUSE

C HOUSE         -

D HOUSE




F HOUSE        -



G,   H,I   HoUsE, MsU KITCHEN, MsU FARM                                    -   Units Closed.

X HOUSE - Inspection Report By: Christersen, CN II
         ComPliant, Per rePort.




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   Case: 1:17-cv-04613 Document #: 6 Filed: 08/22/17 Page 22 of 26 PageID #:64




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          FaoO te*p ii not above 145F. Udr saap and alr dryer
                                                                   are not available
           inttre]iesLoomfacttltieg.Theareais*a.tfreeofinsects/rcdents.
                    - lnspection Report By; Rue, Lp$l
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                                                                                                                   Bruce Rauner
             lllinois                                                                                                Governor
             Department of                                                                                      Donald Stolworthy
             Corrections                                                                                             Director


Statevilte Conectional Center   / Rt. 53 / P.O. Box 1 12 / Joliet, lL 60434 / Telephone:   (81 5)   727'3607 / TDD: (800) 52648i44



MEMPRANDUM
DATE:               April 15, 2015

TO:                 Nicholas R. Lamb
                    A/W of Operations
FROM:               Ester Martin, Director of                  Nursing          tffiLf;{--flL
SUBJECT: SAFEW A SANITATION REPORT

This report is for the month of                      April, 2015.
B HOUSE         - Inspection Report Byi MacQueen, CN IL
                    There.are no eXit lights abthe back door and the,fixtures are not
                    shielded and.clean in cell 4I3, The floors are,not in good repair, the
                    windows/ledges are'not"clean; the wlndows/screens are not in good
                    repair, and the vents'are not clean oilrthe inside. Cell 203 has a
                    broken toileVsinlc,and there is no soap in the dispensers or paper
                    towels available; Waste cans are not available in adequate number, in
                    good repalr or llnedlcovered" The area ls not free of insects, rodents,
                    birds or other animals. In general the'cell house does not have a
                    proper temperatur€; Cell bars, security doors and shower areas are
                    not clean. Mattresses are not in good condition.

C HOUSE         -    Inspection Report By: Dybas, RN
                    Windows and screens are not in good repair. The windows, ledges and
                    vents are not clean and intact. In the restrooms the toilets, sinks and
                    fixtures are not clean and in good repair. There is no hot water, soap
                    in the dispensers or paper towels available. The waste cans are not
                    lined or covered. The area is not free of insects/rodents due to outer
                    openings not being protected. The shower areas are not clean and
                    free of scum.




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        D HOUSE     - Inspectton Report By: Wilking, RN
                     The exit llghts are not working and the flxtures are notclean. Floors
                     are uneven, the windows/ledges are not clean, and the restroom
                     fixtures are not clean. The area is not free of insects, rodents and at
                     times birds or other animals. The shower areas are not clean or free
                     of scum.

        E   HOUSE   -  Inspection Report By: Page,LPN
                     There is not adequate providing, the exit lights are not working and
                     the light fixtures are not shielded and clean. The windows, ledges and
                     vents are not clean. The area is not free of insects/rodents since the
                     outer openings are not protected. In general the bars and security
                     doors are not clean. The mattresses are not in good conditlon along
                     with thesiower areas not belne clean or free of scum.

        F HousE     - tnspicuiri' il.eponay:'l,tltakibwicz,                                                                  RN
                     Toilets/sinks are,not in.gQodrgpair as they need repairs daily. The
                     area ls not free,of insgct$t.rodents and at times birds. There is no
                     soap in. the.dlspensers In thsCMT office.
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        G, H,   t HOUSE, MSU KTTCHEN, MSUiFARI{: Units Closed.
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        OFFICER'S, DINING ROOl,t";inspectlon Report by: Raheem,                                                                   RN

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        INMATE KITCHEIS- Inspection Report By: Dimailig, RN
                 Dependinglon the weatherthere is sometimes not enough ventilation.
          .      The area is"not free of Insects and rodents as the outer openings are
                 not Protected..,.. '

        INFIRMARV         - Inspection
                                    Report By: Angeloff, LPN
                     Some cell floors'are dirty and some shower floor tiles are loose.
                     Window ledges in some room are dirty and the vents are not always
                     clean. Some waste cans are broken and the area ls not free of
                     insects/rodents. The temperature in the nurses'station is very hot
                     while some patient rooms it is very cold and some of the mattresses
                     are not in good condition.




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